Case 5:23-cv-00752-PA-SK D

 

 

Juan Carlos Ayala Martinez | Exstern pivis!

cE .
CLERK, U.S. DISTRICT COURT

APR 2 2023

CENTRAL DISTRICT OF CALIFORNI

Page 10f11 Page ID #:1

  

 

DN BY DEPUTY |

 

NAME

69806-112

PRISON IDENTIFICATION/BOOKING NO.

FCI-Victorville II / PQ BOX 3850
ADDRESS OR PLACE OF CONFINEMENT

Adelanto, CA 923@1

Note:

 

 

If represented by an attorney, provide name, address, & telephone
number, /t is your responsibility to notify the Clerk of Court in
_ writing of any change of address.

  

 

 

CENTRAL DISTRICT O
EASTERN DIVISION

GALIFORNIA
BY DEPUTY

FEE PAID"

 

 

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

JUAN CARLOS AYALA MARTINEZ

FULL NAME (Include name under which you were convicted)

 

Petitioner,

 

WARDEN J. DOERER
NAME OF WARDEN, (or other authorized person having custody of
petitioner)

Respondent.

ENTV 23-0075 2-rx-sk

To be supplied by the Clerk of the United States District Court

 

cr 21:15CR@2071-SAB-1

Criminal case under which sentence was imposed.

 

PETITION FOR WRIT OF HABEAS CORPUS BY
A PERSON IN FEDERAL CUSTODY
(28 U.S.C. § 2241)

 

 

INSTRUCTIONS - READ CAREFULLY

This petition shall be legibly handwritten or typewritten and signed by the petitioner under penalty of perjury. You must set
forth CONCISELY the answer to each question in the proper space on the form. Any false statement of a material fact
may serve as the basis for prosecution and conviction for perjury.

You must not attach separate pages to this petition except that ONE separate additional page is permitted in answering

Question No. 9.

Upon receipt of a fee of $5.00, your petition will be filed if it is in proper order.

If you are seeking leave to proceed in forma pauperis (without paying the $5.00 filing fee and other court costs), then you
must also execute the declaration on the last page, setting forth information that establishes your inability to pay the fees
and costs of the proceedings or to give security therefor. If you wish to proceed in forma pauperis, you must have
an authorized officer at the penal institution complete the certificate as to the amount of money and securities on deposit to
your credit in any account in the institution. If your prison account exceeds $25.00, you must pay the filing fee as required

by the rule of the district court.

When the petition is completed, the original and 3 copies must be mailed to the Clerk of the United States District Court
, for the Central District of California, Edward R. Roybal Federal Building & U.S. Courthouse, 255 East Temple
Street, Suite TS-134, Los Angeles, California 90012, ATTENTION: Intake/Docket Section.

Only one sentence, conviction, or parole matter may be challenged in a single petition. If you challenge more than one, you

must do so by separate petitions.

 

CV-27 (05/18) PETITION FOR WRIT OF HABEAS CORPUS BY A

PERSON IN FEDERAL CUSTODY (28 U.S.C § 2241) Page | of 7
Case 5:23-cv-00752-PA-SK Document1 Filed 04/27/23 Page 2o0f11 Page ID #:2
PLEASE COMPLETE THE FOLLOWING: (Check appropriate number)

This petition concems:

1. Da conviction.

2. Bra sentence.

3. D jail or prison conditions.
4. (1 prison discipline.

5. 0 a parole problem.

6.) other.

PETITION
1. Place of detention FCI - Victorville Medium IT
2. Name and location of court that imposed sentence U»S. District Court District of Washington
Eastern District 25 South 3rd St., Room 201, Yakima, WA 98991
3. The indictment number or numbers (if known) upon which, and the offense or offenses for which, sentence was
tu S.C. 841(a) (1), (b)(1)(b), Conspiracy to distribute Methamphetamine
b.

Cc.

 

 

4. The date upon which sentence was imposed and the terms of the sentence:
a. November 2, 2017 / 120-months

b.

Cc,

 

 

 

5. Check whether a finding of guilty was made:
a. Xf After a plea of guilty
b. D After a plea of not guilty
c. 0 After a plea of nolo contendere

6. If you were found guilty after a plea of not guilty, check whether that finding was made by:

a. Oa jury
b. & a judge without a jury

7. Did you appeal from the. judgment of conviction or the imposition of sentence? [J Yes [INo
8. If you did appeal, give the following information for each appeal:

CAUTION: Ifyou are attacking a sentence imposed under a federal Judgment, you must first Jile a direct appeal or
motion under 28 U.S.C. § 2255 in the federal court that entered the judgment.

a (1) Name of court
(2) Result
(3) Date of result

(4) Citation or number of opinion

 

 

 

 

 

 

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(5) Grounds raised (list each):
(a)
(b)
(c)
(d)

b. (1) Name of court
(2) Result
(3) Date of result
(4) Citation or number of opinion
(5) Grounds raised (list each):
(a)
(b)
(c)
(d)

 

 

 

 

 

 

 

 

 

 

 

 

 

9. State CONCISELY every ground on which you claim that you are being held unlawfully. Summarize briefly the
facts supporting each ground. If necessary, attach a SINGLE page only behind this page.

CAUTION: Ifyou fail to set forth all grounds in this petition, you may be barred Jrom presenting additional
grounds at a later date. You must state facts, not conclusions, in support of your grounds. A rule of
thumb to follow: state WHO did exactly WHAT to violate your rights at WHAT time and place.

a. Ground one:Petitioner requests Time Credits be awarded and applied towards
his release.

 

Supporting FACTS (tell your story BRIEFLY without citing cases or law): Petioner was awarded
365-days of time-credits towards release. Petitioner’s release date

 

was @5/15/2023, because petitioner has an immigration detainer, BOP
Officials changed is release date to @5/14/2024. A detainer is not grounds
to find he is ineligible under §3632 . administrative remedy procedure
procedure is futile in this matter. (see attachment)

 

 

 

 

b. Ground two:

 

 

Supporting FACTS (tell your story BRIEFLY without citing cases or law):

 

 

 

 

 

 

 

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Attachment for 2241

The Supreme Court has also made it Clear, courts may decline to require exhaustion “even
where administrative and judicial interests would counsel otherwise.” Id. at 146. Courts must
apply an “intensely practical” ‘balancing principle” and decide if the litigant’s interest in
immediate judicial review might “outweigh the government’s interest in the efficiency or
autonomy that the exhaustion doctrine is designed further.” Id. (citations omitted. When the
agency involved has predetermined the issue before it, this is a recognized circumstance in
which “the interests of the individual weigh heavily against requiring administrative exhaustion.”
Id. at 146, 148 (citing Houghton v. Shafer, 392 U.S. 639, 640, 88 S. Ct. 2119, 20 L. Ed. 2d
1319 (1968), See also, Fraley v. U.S. Bureau of Prisons, 1 F. 3d 924, 925 (9th Cir. 1993) (Per
Curiam) (waiving exhaustion as futile when the initial request for an administrative remedy was
denied based on BOP policy and, therefore, the Regional Director “almost certainly would have
denied” a further appeal as well due to that policy). In Jones v, Englemen, United States
District Court for the Central District of California, September 7, 2022, Case No.,
2:22-CV-05292-MCS (GJS) (This court notes one final matter. By its terms, the FSA plainly
seeks to incentivize prisoners to better prepare themselves for a life outside prison by
participating in and completing those programs and activities that the BOP, in its expertise, has
designated as evidence-based recidivism reduction programs and productive activities. Their
reward for doing so, assuming they also have led their prison lives in a manner that leads them
to receive low and medium recidivism risk assessments, is knowing that, by its terms, the FSA
has told the BOP that it “shall” apply their earned ETC’s and “shall” afford them an early release.
Allowing the BOP - on a belated and after-the-fact basis- to purport to write into the FSA
Statutes a discretion for itself that does not appear therein and to snatch away from prisoners
whose efforts have earned them ETC-related benefits not only is unfair but would be contrary to
the FSA’s goal of incentivizing prisoners to engage in these salutary programs and activities.

See also, Avila Gonzales v. FCI Berlin, Warden, New Hampshire District Court Case No#
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1:22-cv-00540, (January 20, 2023)(The Court therefore orders that Mr. Avila Gonzalez be
immediately released from BOP custody to begin his term of supervised release in the Southern
District of Florida. It is the Court’s understanding that, upon his release from BOP custody, U.S.
Immigration and Customs Enforcement (ICE) will take Mr. Avila Gonzalez into its custody

pursuant to an immigration detainer.).
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tipo de numero

“2*

Numero de registro de la balanza d

   

Numero

69806-112

Borrar Formulario d)))

 

Nombre : JUAN CARLOS AYALA MARTINEZ
Numero de registro : 69806-112

Edad : 44

Raza: Blanca

Sexo : Masculino

Fecha de lanzamiento : 15/05/2023
Ubicado en: FC! Victorville Medio Il

Nuestros registros o@RRRRERIAFOR:

 
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tipo de numero

 

Numero de registro dela balanzad  ~

 

Numero

 

si 8

Borrar formulario

 

Numero de registro : 69806-112
Edad : 44

Raza: Blanca

Sexo : Masculino

Fecha de lanzamiento : 14/05/2024
Ubicado en: FC! Victorville Medio II

 

Nuestros registros contienen informacién sobre
Case 5:23-cv-00752-PA-SK Document1 Filed 04/27/23 Page 8o0f11 Page ID #:8
c. Ground three:

 

 

Supporting FACTS (tell your story BRIEFLY without citing cases or law):

 

 

 

 

 

 

d. Ground four:

 

 

Supporting FACTS (tell your story BRIEFLY without citing cases or law):

 

 

 

 

 

 

10. Have you filed previous petitions for habeas corpus, motions under Section 2255 of Title 28, United States Code, or
any other applications, petitions, or motions with respect to this conviction? [Yes CI No

11. If your answer to Question No. 10 was yes, give the following information:

a. (1) Name of Court

 

(2) Nature of proceeding
(3) Grounds raised

 

 

 

 

 

 

(4) Result
(5) Date of result

 

 

(6) Citation or number of any written opinions or orders entered pursuant to each disposition.

 

 

 

 

 

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b. (1) Name of Court

(2) Nature of proceeding

(3) Grounds raised

 

 

 

 

 

 

(4) Result
(5) Date of result

 

 

(6) Citation or number of any written opinions or orders entered pursuant to each disposition.

 

 

12. If you did not file a motion under Section 2255 of Title 28, United States Code, or if you filed such a motion and it

was denied, state why your remedy by way of such motion is inadequate or ineffective to test the legality of your
detention:

 

 

 

 

 

 

 

13. Are you presently represented by counsel? [1 Yes No

If so, provide name, address, and telephone number

 

Case name and court

 

 

14. If you are seeking leave to proceed in forma pauperis, have you completed the declaration setting forth the required
information? OYes [No

WHEREFORE, petitioner prays that the court grant petitioner relief to which he may be entitled in this proceeding,

 

Signature of A ttorney (if any)

I declare (or certify, verify, or state) under penalty of perjury that the foregoing is true and correct.

Executed on 4 — 29 - 290 a3 \UQnKH Cc . Wy WOR, MTZ.

Date Signature of Petitioner

 

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